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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


 CALEB BOLAND,                          )
 in his capacity as the Personal        )
 Representative of the Estate of        )
 Micah Boland,                          )
                                        )
       Plaintiff,                       )      1:16-cv-00111-JDL
                                        )
                    v.                  )
                                        )
 RODNEY BOUFFARD, et al.,               )
                                        )
       Defendants.                      )

     ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


       On February 28, 2014, Richard Allen Stahursky brutally murdered Micah

 Boland while they were both confined as inmates at the Maine State Prison. In this

 federal action, Plaintiff Caleb Boland, the Personal Representative of Micah Boland’s

 estate, alleges that the prison’s Warden, Rodney Bouffard, its Deputy Warden,

 Michael Tausek, and one of its Unit Managers, Antonio Mendez (collectively, the

 “Defendants”), violated the Eighth Amendment of the United States Constitution by

 failing to protect Micah Boland from Stahursky. See ECF No. 34. The Defendants

 move for summary judgment (ECF No. 56) pursuant to Fed. R. Civ. P. 56(a) and Local

 Rule 56, arguing that the Plaintiff cannot prove that (1) the Defendants acted with

 deliberate indifference to a significant risk of serious harm to Micah Boland; and (2)

 even if the Defendants were aware of a significant risk of serious harm, they took

 reasonable steps to avert that risk. For the reasons that follow, I deny the Motion.
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                            I. FACTUAL BACKGROUND
       For purposes of summary judgment the following facts, taken from the parties’

 statements of material facts (ECF Nos. 57, 60, 85), are viewed in the light most

 favorable to the non-moving party (here, the Plaintiff). A complete recitation of the

 voluminous relevant facts is required to assess the Motion using the applicable legal

 standards.

 A.    The Parties

       Warden Bouffard and Deputy Warden Tausek were hired by the Maine State

 Prison in 2013. At the time, the Department of Corrections was seeking to reduce

 the number of prisoners kept in segregation, and Deputy Warden Tausek was tasked

 with developing programs aimed at decreasing recidivism. Unit Manager Mendez

 began working as the co-manager of the prison’s “Close Unit,” where both Stahursky

 and Boland were housed at the time of the murder in 2014, and had previously

 worked for the prison in other roles.

       Micah Boland was committed to the prison in 2008 following a conviction for

 sexual assault involving a victim under the age of twelve. He was a quiet and peaceful

 inmate, and he was never disciplined while in the prison.

       Richard Stahursky was committed to the Maine State Prison in 2002, and is

 subject to a 100-year consecutive federal sentence as well as a state sentence,

 although the record does not reveal the nature of his underlying conviction or the

 length of his state sentence. Throughout his incarceration, Stahursky repeatedly

 engaged in violent behavior, including multiple stabbings and assaults.           The

 stabbings, which occurred in 2003, 2004, and 2010, each involved using a shank to

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 stab an inmate victim who Stahursky believed was a sex offender. The non-stabbing

 assaults occurred in 2003, 2005, and 2011, and Stahursky injured several corrections

 officers during the 2011 assault.

       Danny Picard, who worked as a Unit Manager in the prison from early 2012 to

 July 2013, believed that Stahursky was one of the three most violent prisoners in the

 prison. Prior to Micah Boland’s murder, Picard, in his capacity as the Unit Manager

 of Stahursky’s housing unit, repeatedly told Warden Bouffard and Deputy Warden

 Tausek that Stahursky was manipulative, controlling, and vindictive. He also told

 Warden Bouffard and Deputy Warden Tausek that Stahursky only complied with

 orders when it would benefit him, and that Stahursky kept his word when he

 threatened to harm himself or others.

 B.    The Housing Units

       The prison has three housing units: the Special Management Unit (the

 “SMU”), the Close Unit, and the Medium Unit. Unit Managers oversee each Unit,

 and the Unit Managers all report directly to the Deputy Warden (here, Tausek). The

 two relevant Units are the SMU and the Close Unit. The SMU is a segregated setting

 that houses inmates who threaten the safety of other inmates. The Close Unit is a

 general population housing unit in which inmates are allowed out of their cells during

 the day. It has six “Pods,” identified as A through F.

 C.    Stahursky’s History Prior to His 2013 Transfer to the Close Unit’s C-
       Pod

       As already noted, prior to 2014 Stahursky stabbed three fellow inmates who

 he believed were sex offenders. Stahursky told Picard that he had been sexually


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 abused as a child, and that he took it upon himself to ensure that sex offenders paid

 a price for their crimes beyond serving out their sentences.

         Stahursky also had a history of threatening violence, possessing contraband

 weapons, assaulting other inmates and corrections officers, and engaging in self-

 harm. For example, in January 2013, Stahursky was found in possession of an eight-

 inch sharpened metal shank and was consequently moved to the SMU. Stahursky

 told officials that he planned to stab several inmates who had reported him for having

 a shank, but never identified his intended targets. While Stahursky was in the SMU,

 prison officials found another eight-inch sharpened shank in his cell. While housed

 in the SMU, Stahursky also committed the following aggressive or violent acts: he

 threatened to stab another inmate; he jammed his cell door and made deep cuts in

 his own arm causing arterial spray; he threatened to “cut up” a corrections officer;

 and he cut a three-inch long, half-inch deep cut in his arm. In connection with the

 last incident, Stahursky wrote “It’s A War” on the wall in blood, and said that he

 would continue doing this every day until he “got what he wanted.” ECF No. 85 at

 ¶ 15.

         It is undisputed that Picard – the sole Unit Manger in the SMU from early

 2012 to July 2013 – told Warden Bouffard and Deputy Warden Tausek on multiple

 occasions that Stahursky acted out violently when he did not get his way. It is also

 undisputed that from the time Stahursky entered the SMU in January 2013 through

 July 2013, Warden Bouffard believed that Stahursky would be a threat to other

 inmates’ safety if released into the general population.



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       Stahursky was moved from the SMU to C-Pod on July 9, 2013, based on a

 recommendation by Deputy Warden Tausek which was approved by Warden

 Bouffard. Generally, prisoners leaving the SMU were placed in C-Pod because it was

 the most closely watched Pod in the Close Unit. Before recommending Stahursky’s

 release, Deputy Warden Tausek reviewed Stahursky’s incident and disciplinary

 history, and was aware that he had been placed in the SMU because he posed a threat

 to other inmates. Before approving Stahursky’s release, Warden Bouffard

 familiarized himself with Stahursky’s history and was aware that Stahursky was a

 safety risk and had a history of possessing weapons. Warden Bouffard later testified

 that Stahursky was released “in a very slow, deliberate way” because he “was

 probably one of the first inmates that I was somewhat concerned about in a

 significant way.” ECF No. 57-1 at 6.

       Picard disagreed with the decision to release Stahursky, believing that

 Stahursky needed more time in the SMU before being released into the general

 population. Stahursky himself was surprised that he had been released from the

 SMU, testifying later that due to the threat he posed to other inmates, he “should

 never have been out in population, period.” ECF No. 85 at ¶ 67.

       While in C-Pod, Stahursky’s movements were highly restricted: he was locked

 in his cell while other inmates were out of their cells; a corrections officer was present

 when he was out of his cell; he was fed in his cell rather than in the dining hall; and

 he had an escort at all times when he left C-Pod. Thus, Stahursky was not permitted

 any unsupervised access to other prisoners. Also, because he had been “acting up”



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 while in C-Pod, he was not permitted near work tools that could be turned into

 weapons.

 D.    Events Following Stahursky’s Transfer from C-Pod to B-Pod

       The prison began painting and making other improvements to the C-Pod

 shortly after Stahursky’s transfer to it. Because Stahursky was not permitted to be

 near work tools, he was transferred out of C-Pod (the most closely watched Pod in the

 Close Unit) to B-Pod, which was considered an “honor pod.”            Generally, B-Pod

 inmates were the best behaved inmates in the Close Unit, and the surveillance level

 in B-Pod reflected that: corrections officers made rounds hourly instead of every half

 hour; no officers were stationed inside for up to two hours at a time when there were

 12 or fewer inmates in the Pod; and there was only one surveillance camera, which

 was monitored from outside the Pod. When Stahursky was transferred to B-Pod,

 prison officials planned to return him to the C-Pod within two or three weeks, after

 the work was completed, although that never happened.

       The Plaintiff contends – and the Defendants dispute – that there were more

 sex offenders housed in B-Pod than in other areas of the prison. Ordinarily, prison

 officials consider an inmate’s hatred for sex offenders when making housing decisions

 to ensure inmate safety.     It is undisputed that Stahursky initially opposed his

 transfer to B-Pod because, as he put it, “they’re all a bunch of sex offenders in there.”

 ECF No. 85 at ¶ 42. Picard knew that Stahursky did not want to be placed in B-Pod

 and he stated his concerns about returning Stahursky to the general population –

 and the B-Pod in particular – to Warden Bouffard and Deputy Warden Tausek

 whenever they met and discussed Stahursky.            Picard believed that Stahursky

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 presented an increased risk of violence while he was in B-Pod because he would be

 left unsupervised for up to two hours at a time.

       On July 25, 2013, after a few weeks in B-Pod, Stahursky requested more

 freedom to walk around the Pod. On July 27, he was given an unpaid cleaning job,

 which gave him access to paint scrapers, rollers, and screwdrivers, which could all be

 converted into weapons.       On July 30, Picard e-mailed Deputy Warden Tausek,

 Warden Bouffard, and other prison officials to discuss Stahursky’s July 25 request.

 He wrote, in relevant part, that “[Stahursky] wants regular [] recreation time and

 more that we cannot safely do. He is making threats to act up again (reportedly) and

 these are why he should have stayed in [the SMU] until a full no limits plan was

 made for him.” Id. at ¶ 52.

       Despite Picard’s reservations, on July 31 Stahursky’s restrictions were relaxed

 and he was permitted to be out of his cell with other inmates from 7 a.m. to 9 p.m.

 Although Picard signed off on the change he did not agree with it, and he made that

 clear to Warden Bouffard and Deputy Warden Tausek.           Five days later, Picard

 resigned from the prison, in part because he felt that his input had been disregarded.

 On August 28, Stahursky’s restrictions were loosened again, so he was permitted to

 eat lunch in the dining hall seven days per week.

       On September 9, Defendant Antonio Mendez replaced Picard as the Unit

 Manager in charge of the B- and C-Pods. Previously, Mendez was a sergeant in the

 SMU and had therefore known Stahursky for several years. Mendez was aware that

 Stahursky was violent, that other inmates were afraid of him, that he had deceived



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 staff members on multiple occasions, and that he was manipulative, high strung, and

 very persistent.

 E.    Stahursky’s Paid Unit Cleaner Job in B-Pod

       Based on Stahursky’s compliance with his case plan, all of his remaining

 restrictions were removed on September 25, 2013, and from then on he was treated

 like any other inmate in the general population. Warden Bouffard and Deputy

 Warden Tausek had regular contact with Stahursky and were aware of this change.

 On Deputy Warden Tausek’s recommendation, on October 16 Stahursky was given a

 paid job as a Close Unit Cleaner, which involved cleaning the spaces between the

 Pods, as well as painting and performing minor maintenance jobs. Paying jobs are a

 privilege in the prison, and Stahursky was given the job on a probationary basis,

 meaning he was not paid for the first 90 days. As a Unit Cleaner, Stahursky had

 access to eight-inch screwdrivers, paint scrapers, and paint rollers even when he was

 unsupervised. Warden Bouffard, Deputy Warden Tausek, and Unit Manager Mendez

 all knew that Stahursky had a job, and all knew that it gave Stahursky access to

 other Pods and inmates.

       Stahursky enjoyed his job as a Unit Cleaner both because it was paid and

 because it permitted him to work outside of B-Pod which, he believed, minimized his

 contact with sex offenders. Eventually, however, he began causing trouble. On one

 occasion, Stahursky punched another Unit Cleaner in the face, causing the other

 inmate to quit his job. In January 2014, a prison staff member e-mailed Deputy

 Warden Tausek to discuss concerns that some corrections officers had voiced about

 Stahursky. There was a general concern that allowing Stahursky to work as a paid

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 Unit Cleaner rewarded his bad behavior, and that it was unsafe to give him

 screwdrivers that, without proper supervision, could be used as weapons. Tausek

 responded via e-mail, copying both Warden Bouffard and the Deputy Warden of

 Security, and stating that the “team” would address the concerns.

       By the end of January 2014, several inmates and staff members had

 approached Mendez and reported that Stahursky was using his Unit Cleaner job to

 distribute illegal drugs and unauthorized commissary items. Also, a prison staff

 member e-mailed other staff members – including the Commander and Corporal of

 the Inner Perimeter Security (colloquially, the “prison police”) – alerting them that

 an inmate had approached him and reported that another inmate was moving drugs

 by taking them to Stahursky, who in turn distributed them throughout the Close Unit

 Pods. A prison official forwarded the e-mail to Deputy Warden Tausek, adding that

 she had heard the same information from “numerous informants,” that she had been

 told Stahursky was “attempting to strong arm and bully [other cleaners] out of their

 jobs in the afternoons so that he can stay out all day,” and that the team wanted to

 fire him. ECF No. 57-19 at 1-2. Because his firing would “result in [Stahursky’s]

 being moved from B-Pod,” the official went on to write, “I am going to assume, his

 behavior will go downhill fast and I am concerned, violently. How would you like us

 to proceed with the situation?” Id. at 1-2. Tausek replied within ten minutes, again

 copying Bouffard and the Deputy Warden of Security, and directed the official to sit

 Stahursky down, reestablish expectations with respect to his job, and tell him to

 return to his Pod more quickly. See id. He also asked the official to document the

 conversation. See id.

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       By early February, Unit Manager Mendez was aware that Stahursky was

 entering hallways outside of his normal shift times, telling corrections officers that

 he was scheduled to work when he was not so that he could get out more often, and

 bullying other inmates out of their shifts so that he could work more. Mendez also

 knew that other inmates were afraid to confront Stahursky because they feared he

 would retaliate.   In February 2014, an inmate in the prison told Mendez that

 Stahursky had tricked him into delivering an illegal narcotic a few months earlier.

 Warden Bouffard and Deputy Warden Tausek were also aware that inmates had

 reported this behavior.

       During this period, Unit Manager Mendez met with Warden Bouffard and

 Deputy Warden Tausek nearly every morning, and Mendez and other staff members

 would discuss ongoing issues in the Close Unit. The Plaintiff contends, but the

 Defendants dispute, that at one of those meetings Mendez expressed his belief that

 Stahursky would react violently if he lost his paid job.

 G.    Terminating Starhursky’s Employment

       On February 18, 2014, after contraband was discovered in a floor cleaning

 machine, Unit Manager Mendez terminated Stahursky’s employment, although he

 was permitted to work as an unpaid Pod Cleaner and remain in B-Pod. Ordinarily,

 inmates could only stay in B-Pod if they were not engaging in misconduct and had

 paid jobs, but Mendez did not believe that he had sufficient proof of misconduct to

 justify moving Stahursky out of the Pod. By permitting Stahursky to stay in B-Pod

 after he lost his paid job, Mendez did not follow the prison’s ordinary practice.



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       After Stahursky lost his paid job, he had daily conversations with Mendez in

 which he made it clear that he was angry. He denied having passed any contraband,

 demanded to know who had reported him, and indicated that he thought a sex

 offender had reported him, stating that they were “taking a [expletive] sex offender’s

 word over mine.”

       The Plaintiff alleges, and the Defendants dispute, that during the ten-day

 period after his employment was terminated, Stahursky went to Mendez’s office every

 day and asked whether the prison police had initiated an investigation into the

 allegations against him.   Boland also alleges, and the Defendants dispute, that

 Stahursky told Mendez that if the prison did not investigate the allegations, he would

 perform his own investigation. Soon, the “prison talk” in the hallway indicated that

 Stahursky thought someone had turned him in. Mendez refused to tell Stahursky

 who reported him because Mendez was concerned that Stahursky would attack

 anyone who he thought had turned him in.

       After Stahursky lost his paid job the Defendants did not do anything out of the

 ordinary to protect inmates from Stahursky, did not separate him from sex offenders,

 and did not monitor him more closely than the other inmates. In addition, contraband

 in Stahursky’s cell went undetected: After Boland’s murder, thirty-two hairbrushes

 were found there. Moreover, Bouffard testified that Stahursky should have been on

 a prison police watch list at the time of the murder, which would have subjected him

 to heightened monitoring including closer observation, mail checks, and more

 frequent or thorough cell searches. The Plaintiff contends that, at the time of the



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 murder, Stahursky was not on the watch list, and that none of the Defendants

 requested that he be placed on it.

 H.       The Murder

          Three or four days before Micah Boland’s murder, Stahursky learned from

 other inmates that Boland was a sex offender who had molested a young girl. This

 enraged Stahursky because he had been folding Boland’s laundry, which he would

 have refused to do had he known Boland’s history. Stahursky was already frustrated

 about “being stuck in the pod all day long” with sex offenders, and stewed over his

 belief that Boland was laughing at him while Stahursky folded the laundry. Id. at

 ¶ 141.

          On February 28, 2014, Stahursky entered Boland’s open cell. He punched

 Boland in the face, knocking him to the ground. Stahursky covered the cell window

 with a black piece of paper, and bound Boland’s hands behind his back. Stahursky

 stabbed Boland 80 times in the face, neck, chest and abdomen with two seven-inch

 sharpened shanks. While Boland lay dying on the floor, Stahursky kicked him in the

 face. All the while, the single corrections officer assigned to B-Pod sat at her desk.

 She was unaware of the ongoing crime until moments after the murder, when

 Stahursky dropped the shanks he had used to kill Boland on her desk.

          Stahursky never planned to kill Boland; he wanted to beat him up, stab him,

 and teach him a lesson.1 Once the attack began, however, he flew into an extreme

 rage.


  1 There is an evidentiary dispute with respect to statements made by Stahursky during a police interview

 approximately four hours after the murder that pertain to Stahursky’s motive. During the interview, Stahursky

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                                          II. LEGAL ANALYSIS

 A.      Summary Judgment Standard

         “The court shall grant summary judgment if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Fed. R. Civ. P. 56(a). In conducting this analysis, “[a]ll facts in the

 record, as well as all reasonable inferences to be drawn therefrom, are drawn in favor

 of the nonmovant.” Perry v. Roy, 782 F.3d 73, 77 (1st Cir. 2015). If, in reviewing the

 record, the court determines that there is sufficient evidence to support findings in

 favor of the non-moving party, a trial-worthy controversy exists and summary

 judgment will be denied. Id. at 77-78. (“The district court’s role is limited to assessing

 whether there exists evidence such that a reasonable jury could return a verdict for




 said that he believed Boland had turned him in to prison officials for passing contraband. Those statements are
 stricken as inadmissible hearsay.

      As the Defendants argue, the statements in controversy are out-of-court statements being used to prove the
 truth of the matter asserted. They do not qualify, as the Plaintiff contends, as a hearsay exception under Rule
 803(3) for “then-existing mental, emotional, or physical condition,” because the exception requires substantial
 contemporaneity, and the four-hour gap between the murder and police interview undercuts the claim of
 contemporaneity. See U.S. v. Rivera-Hernández, 497 F.3d 71, 81 (1st Cir. 2007). Additionally, the statements
 cannot, as the Plaintiff also argues, qualify for the exception by showing Stahursky’s state of mind at the time of
 the post-murder interview (which permits an inference as to Stahursky’s state of mind at the time of the murder)
 because “[t]he premise for admitting hearsay statements evidencing state-of-mind is that such statements are
 reliable because of their spontaneity and [the] resulting probable sincerity.” Horton v. Allen, 370 F.3d 75, 85 (1st
 Cir. 2004) (internal quotation marks and citations omitted (alteration in original)). Using Stahursky’s post-
 murder state-of-mind to establish his state-of-mind at the time of the murder would cut against Rule 803(3)’s
 underlying rationale.

      The statements also do not qualify for the residual hearsay exception. Fed. R. Evid. 807(a). “The residual
 exception to the hearsay rule is one intended to be used very rarely, and only in exceptional circumstances.”
 United States v. Benavente Gomez, 921 F.2d 378, 384 (1st Cir. 1990) (internal citation omitted). The Plaintiff has
 failed to explain why this is such an “exceptional circumstance” as to support the residual exception. Because the
 statements Stahursky made to the police are hearsay statements that do not fit into any exception, I do not
 consider them.




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 the nonmoving party.”) (internal quotation marks omitted). Unsupported claims are

 properly dismissed. Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986).

 B.    Eighth Amendment Violations

       The Amended Complaint asserts that the Defendants violated Micah Boland’s

 Eighth Amendment right to be free from cruel and unusual punishment because they

 were deliberately indifferent to his safety and subjected him to a substantial risk of

 serious harm. While the U.S. Constitution “does not mandate comfortable prisons,”

 it also “does not permit inhumane ones.” Farmer v. Brennan, 511 U.S. 825, 832 (1994)

 (internal citation omitted). The Cruel and Unusual Punishment Clause of the Eighth

 Amendment, as applied to the states through the Fourteenth Amendment, generates

 a duty on the part of prison officials “to protect prisoners from violence at the hands

 of other prisoners.” Id. at 833; see also Bean v. Reed, 1:13-cv-00196-NT, 2016 WL

 2888967, at *6 (D. Me. May 17, 2016). “That duty has its origins in the forced

 dependency of inmates.” Giroux v. Somerset Cty., 178 F.3d 28, 31 (1st Cir. 1999). As

 explained in Farmer, “[h]aving incarcerated persons with demonstrated proclivities

 for antisocial criminal, and often violent, conduct, [and] having stripped them of

 virtually every means of self-protection and foreclosed their access to outside aid, the

 government and its officials are not free to let the state of nature take its course.”

 511 U.S. at 832 (internal citation, quotation marks, and brackets omitted).

       Yet, “[n]ot ‘every injury suffered by one prisoner at the hands of another . . .

 translates into constitutional liability.’” Lakin v. Barnhart, 758 F.3d 66, 70 (1st Cir.

 2014) (quoting Farmer, 511 U.S. at 834). To demonstrate an inmate’s constitutional

 rights were violated, a plaintiff faces the heavy burden of showing that the inmate

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 was (1) “incarcerated under conditions posing a substantial risk of serious harm;” and

 (2) “the prison official [accused of failing to prevent harm] acted, or failed to act, with

 deliberate indifference to inmate health or safety.” Id. (internal quotation marks

 omitted).   “In other words, a plaintiff must satisfy both an objective standard

 (substantial risk of serious harm) and a subjective standard (deliberate indifference)

 [] to prove a claim of deliberate indifference.” Bean v. Reed, 2016 WL 2888967, at *6.

 (citing Kosilek v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014) (en banc)). The subjective

 standard, in turn, contains two subparts: the “deliberate” element, which assesses

 whether prison officials were actually aware of the risk to the inmates, and the

 “indifference” element, which assesses whether prison officials took reasonable steps

 to abate the risk. See Burrell v. Hampshire Cty., 307 F.3d 1, 7-8 (1st Cir. 2002).

       Thus, the Defendants’ Motion turns on an evaluation of whether: (1) Boland

 was incarcerated under conditions which objectively imposed a substantial risk of

 serious harm; (2) the Defendants were subjectively aware that the substantial risk

 existed; and (3) the Defendants, despite their awareness of the risk, failed to take

 reasonable steps in response. I consider each argument.

       1. Substantial Risk of Serious Harm

        “To meet the objective requirements of a deliberate indifference claim, [the]

 Plaintiff must present evidence that Defendants had knowledge of facts that would

 cause a reasonable person in their position to conclude there was a substantial risk

 that [the] Plaintiff would suffer serious harm.” Bean, 2016 WL 2888967, at *6. A

 “substantial risk” has been variously characterized as a risk that is “objectively

 intolerable,” see Lakin, 758 F.3d at 71, or “an unusually serious, or grave risk.” See

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 Ramirez-Lluveras v. Rivera Merced, 759 F.3d 10, 21 (1st Cir. 2014) (internal

 quotation marks omitted). Significantly, “it does not matter . . . whether a prisoner

 faces an excessive risk of attack for reasons personal to him or because all prisoners

 in his situation face such a risk.” Farmer, 511 U.S. at 843.

        Based on the summary judgment record, there is a genuine dispute of material

 fact which, if decided in the Plaintiff’s favor, could support a finding that at the time

 of Micah Boland’s death inmates convicted of sex offenses who lived in B-Pod, as well

 as inmates who Stahursky might suspect of having reported him to authorities, faced

 a significant risk of serious harm. When Stahursky committed the murder, he had a

 long record of violent in-prison behavior, which was often directed at sex offenders.

 See ECF No. 85 at ¶¶ 4-9. He had also been moved into the SMU after officials

 discovered that he had an eight-inch sharpened shank and planned to stab several

 inmates who he believed had reported him to authorities in the prison. See id. at

 ¶¶ 10-11. Moreover, the record indicates that if Stahursky felt wronged or slighted,

 he was prone to react violently. Given Stahursky’s history of violent and vengeful

 conduct, it is evident that, as a prison official stated, once he lost his job his behavior

 was likely to “go downhill fast” in a violent way. ECF No. 57-19 at 1-2. Accordingly,

 by leaving Stahursky in the minimally surveilled B-Pod after his firing, without

 putting him on a watch list that would ensure that he was observed more closely or

 otherwise taking steps to protect general population inmates, the Defendants may

 have exposed inmates similar to Stahursky’s previous victims (sex offenders) and

 inmates who he might suspect of having informed on him, to an unusually grave risk

 of harm. See ECF No. 85 at ¶¶ 114, 134-136. Thus, a jury could reasonably conclude

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 that at the time of Micah Boland’s murder Stahursky objectively posed a substantial

 risk of serious harm to inmates in Boland’s position.

       2. The Defendants’ Awareness of the Risk of Harm

       Once a plaintiff has presented evidence establishing the objective existence of

 a substantial risk, the plaintiff must demonstrate that the defendants had a

 “sufficiently culpable state of mind,” i.e., a state of “deliberate indifference to inmate

 health or safety.” Farmer, 511 U.S. at 834. “The ‘deliberate’ part of ‘deliberate

 indifference’ [requires] that a prison official subjectively ‘must both be aware of facts

 from which the inference could be drawn that a substantial risk of serious harm

 exists, and he must also draw the inference.’” Burrell, 307 F.3d at 8 (quoting Farmer,

 511 U.S. at 837).

       In determining whether prison officials drew the inference of a substantial

 risk, a fact-finder may infer knowledge based on the obviousness of the risk:


       For example, if an Eighth Amendment plaintiff presents evidence
       showing that a substantial risk of inmate attacks was longstanding,
       pervasive, well-documented, or expressly noted by prison officials in the
       past, and the circumstances suggest that the defendant-official being
       sued had been exposed to information concerning the risk and thus must
       have known about it, then such evidence could be sufficient to permit a
       trier of fact to find that the defendant-official had actual knowledge of
       the risk.

 Farmer, 511 U.S. at 842-43 (internal quotation marks omitted). Prison officials may,

 in response, show that “even if the risks were obvious to others, it was not obvious to

 them.” Burrell, 307 F.3d at 8. For the following reasons, the risks of harm to inmates

 in Boland’s position were sufficiently obvious that a fact-finder could reasonably




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 conclude that Bouffard, Tausek, and Mendez must have drawn the inference that a

 substantial risk of harm to Boland existed.

       Warden Bouffard, Deputy Warden Tausek, and Unit Manager Mendez were

 aware of Stahursky’s history, which included violence against sex offenders and

 attempted violence against those he believed had wronged him. See ECF No. 85 at

 ¶¶ 4-10, 30, 31, 75. Specifically, they were aware that Stahursky had committed

 three premediated stabbings, each targeted at someone he believed was a sex

 offender. See id. at ¶ 4; ECF No. 74-6 at 10-20. They were also aware that in 2013

 Stahursky was discovered in possession of an eight-inch sharpened metal shank and

 that, at the time, he told officials that he planned to stab inmates who had informed

 on him. See id. at ¶¶ 10-13. Even after he was placed in the SMU for that conduct,

 Stahursky was found in possession of another eight-inch sharpened shank. See id. at

 ¶ 14. Thus, the Defendants were aware of Stahursky’s preferred weapon (sharpened

 shanks), history of stabbings, and the profile of his victims (sex offenders and those

 he believed had informed on him).

       Warden Bouffard and Deputy Warden Tausek were also aware of the danger

 that Stahursky posed to sex offenders based on the warnings that they received from

 Picard. Picard knew that Stahursky was sexually abused as a child and that he took

 it upon himself to ensure that sex offenders paid a price for their crimes, beyond

 serving out their sentences. See ECF No. 85 at ¶ 57. Picard opposed Warden

 Bouffard’s decision to transfer Stahursky from the SMU to C-Pod, and in every

 Stahursky-related meeting he had with Warden Bouffard and Deputy Warden

 Tausek, Picard warned them that Stahursky was vindictive and manipulative, and

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 acted out violently when he did not get his way. See id. at ¶¶ 21-22. When Stahursky

 was transferred from C-Pod to B-Pod, Picard specifically warned Warden Bouffard

 and Deputy Warden Tausek that Stahursky would likely become violent toward the

 sex offenders housed there. See id. at ¶ 57.

       Picard’s warnings did not fall on deaf ears, as demonstrated by the deliberate

 manner in which Stahursky was initially reintroduced into the general population.

 Warden Bouffard testified that Stahursky was released in a “very slow deliberate

 way” because he “was probably one of the first inmates that [he] was somewhat

 concerned about in a significant way.” ECF No. 57-1 at 6. To that end, Stahursky’s

 restrictions were supposed to be gradually loosened, and the Defendants planned to

 keep him in C-Pod – the most closely watched pod in the Close Unit. See ECF No. 62

 at ¶ 15, 16; ECF No. 85 at ¶ 32. However, the Defendants did not adhere to that plan

 and soon transferred Stahursky into the more lightly surveilled B-Pod. After only a

 few weeks, he was given the freedom to walk around the pod and a job that gave him

 access to paint scrapers, rollers, and screwdrivers, all of which could serve as

 weapons. See ECF No. 85 at ¶¶ 44, 50, 51, 68, 71.

       It is undisputed that the Defendants were aware of these changes; the Warden,

 Unit Managers, Unit Sergeants, and Case Workers participated in “daily meetings”

 so that each inmate was discussed at least once or twice a week, and problem inmates

 were discussed daily. See ECF No. 85 at ¶¶ 61-63, 68-69. Picard, Warden Bouffard,

 and Deputy Warden Tausek also frequently attended case management meetings

 where the status of – and plans for – inmates were discussed. See id. at ¶ 61.



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       A few months after Stahursky was transferred to B-Pod, a prison official

 forwarded Deputy Warden Tausek an e-mail from a prison staff member which stated

 that an inmate had reported that Stahursky was distributing drugs in the Close Unit

 Pods. See id. at ¶¶ 105-106. When the official forwarded the e-mail to Deputy

 Warden Tausek, she added that she had heard the same information from “numerous

 informants,” and that the team wanted to fire Stahursky. See ECF No. 57-19 at 1-2.

 She went on to write that if Stahursky’s employment was terminated he would have

 to be transferred out of B-Pod, and stated, “I am going to assume, his behavior will

 go downhill fast and I am concerned, violently. How would you like us to proceed with

 the situation?” Id. When Deputy Warden Tausek responded, he copied Warden

 Bouffard. Id. The Plaintiff also contends, although the Defendants dispute, that

 during a daily meeting with Deputy Warden Tausek and Warden Bouffard, Unit

 Manager Mendez expressed a similar belief that if Stahursky lost his paid Unit

 Cleaner job he would react violently. See ECF No. 85 at ¶¶ 101, 103; ECF No. 74-3

 at 63-65. Based on the foregoing largely undisputed facts, it is reasonable to infer

 that the Defendants were aware that if Stahursky lost his paid Unit Cleaner job, he

 was likely to react with violence.

       In addition, after he lost his job, Stahursky spoke with Unit Manager Mendez

 every day and made it clear that he was angry. See ECF No. 85 at ¶ 117. Stahursky

 demanded to know who had reported him, and expressed his belief that the reporting

 inmate was a sex offender. See id. In addition, the Plaintiff alleges, although the

 Defendants dispute, that Stahursky threatened to perform his own investigation. See

 id. at 19. It is undisputed that Unit Manager Mendez believed that Stahursky would

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 attack another inmate if he believed that the inmate had reported him. See id. at

 ¶ 122.

          Viewing the summary judgment record in the light most favorable to the

 Plaintiff as the non-moving party, a jury could reasonably conclude that once Unit

 Manager Mendez terminated Stahursky from his job, the possibility that Stahursky

 would physically harm another inmate in B-Pod became obvious to the Defendants.

 Given the preceding disputed and undisputed facts, a jury could therefore reasonably

 determine that the Defendants were subjectively aware of the danger Stahursky

 posed – particularly to sex offenders – after his employment was terminated.2

          3. Defendants’ Response to the Risk of Harm

          The second half of the deliberate indifference analysis recognizes that “[p]rison

 officials cannot be indifferent [] if they are unaware of the risk. But even if they are

 aware, they cannot be deliberately indifferent if they responded reasonably to the

 risk, even if the harm ultimately was not avoided.” Burrell, 307 F.3d at 8 (1st Cir

 2002) (citing Farmer, 511 U.S. at 844). This reflects the concept that “[a] prison



   2  In opposing this conclusion the Defendants rely on Carter v. Galloway, 352 F.3d 1346 (11th Cir. 2002).
 In Carter, the Plaintiff was assigned to a cell with an inmate who asked the Plaintiff to help him fake a hanging
 so that he could be transferred to the medical prison – when the Plaintiff declined, the inmate threatened that
 the Plaintiff would help him “one way or another.” Id. at 1348. The Plaintiff told the Defendant prison officials
 that the other inmate was acting crazy, was planning to fake a hanging, and had said that the Plaintiff would
 help one way or another. See id. The Plaintiff was not moved from the cell, and within a week, the other inmate
 stabbed the Plaintiff in the stomach with a shank. See id. The prison officials were, however, found not liable for
 deliberate indifference, largely because the record lacked evidence of their subjective awareness of the risk. Id.
 at 1350.

     Carter is distinguishable from this case because in Carter the prison officials were privy to a limited amount
 of information about the threatening inmate, all of which was supplied by a single inmate, the plaintiff. See id.
 at 1349-50. Plus, in supplying that information, the plaintiff did not articulate a particularized threat. Id. Here,
 the record indicates a substantial amount of information was available to the Defendants from a variety of sources
 regarding Stahursky’s history of violence, including stabbings, as well as the likelihood that he would lash out in
 the days after he lost his job. In addition, the information indicated that Stahursky posed a particularized threat
 to sex offenders living in B-Pod, including Boland.

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 official’s duty under the Eighth Amendment is to ensure reasonable safety,” and an

 inquiry into the reasonableness of an official’s response must give “due regard for

 prison officials’ unenviable task of keeping dangerous men in safe custody under

 humane conditions.” Farmer, 511 at 844-45 (internal quotation marks omitted).

 Determining which actions constitute a reasonable response to a substantial risk

 varies case-by-case. The decisions in Burrell, 307 F.3d at 8 and Gebo v. Thyng, No.

 11-CV-047-JD, 2012 WL 4848883 (D. N.H. Oct. 11, 2012) are instructive.

         In Burrell, the plaintiff was a pretrial detainee who was assaulted and

 injured by a fellow detainee after he and his wife complained about that detainee.

 307 F.3d at 4-7. Ultimately, the court concluded that the officials acted reasonably

 when they refused to move the threatening inmate out of Burrell’s cell block because

 the officials believed that Burrell – who told officials that he was proficient in martial

 arts and a decorated war hero – was capable of defending himself. See id. at 8-9. The

 court also noted that Burrell never requested placement in protective custody. See

 id. at 9; see also Ruiz-Rosa v. Rullan, 485 F.3d 150 (1st Cir. 2007) (finding no

 deliberate indifference where an inmate died of septicemia when a prison doctor

 failed to perform a follow-up evaluation after draining the inmate’s abscess based on

 the doctor’s lack of awareness of the risk).

       In contrast, Gebo arose out of an attack on an inmate by a gang member. After

 the attack, the inmate requested protective custody multiple times, specifically

 because he was scared that he would be attacked by gang members again. See Gebo,

 2012 WL 4848883, at *2. The inmate’s requests for protective custody were denied

 without explanation, and when he returned to the general population he was again

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 assaulted by gang members. See id. The District Court denied summary judgment,

 concluding that, unlike in Burrell, there was no evidence that the inmate could

 protect himself and the prison officials were aware of the specific risk to the inmate.

 Id. at *4; see also Leavitt v. Corr. Med. Servs., Inc., 645 F.3d 484 (1st Cir. 2011)

 (finding deliberate indifference where a physician assistant working in jail failed to

 treat an inmate’s HIV in a timely manner, and the physician assistant had a financial

 interest in not providing immediate treatment, knew the inmate had HIV, knew the

 inmate had not had access to his antiretroviral regimen for a month, and knew of the

 inmate’s symptoms.); Giroux v. Somerset Cty, 178 F.3d 28, 33 (1st Cir. 1999) (finding

 genuine issue of fact precluding summary judgment regarding deliberate indifference

 where a jail official left an inmate alone in a room with another inmate who had

 repeatedly threatened him, noting that there were “no circumstances that

 constrained [the official] from responding to protect [the plaintiff inmate]”).

       Here, as was true in Gebo, there are triable issues as to whether Warden

 Bouffard, Deputy Warden Tausek, and Unit Manager Mendez failed to reasonably

 respond to the substantial risk to Micah Boland’s safety that arose after Stahursky

 was terminated from his job. The manner in which Stahursky was terminated is

 important: while his transfer into the general population was originally planned to

 occur in a “slow, deliberate way,” the Defendants took no steps to protect general

 population inmates (particularly sex offenders) from Stahursky once his job was

 terminated, despite Stahursky’s record of extreme violence and warnings from two

 prison officials that he would likely become violent. See ECF No. 57-19 at 1-2; ECF

 No. 74-3 at 63-65; ECF No. 85 at ¶¶ 101, 103. Further, the Defendants did not follow

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 the prison’s standard procedure and permitted Stahursky to stay in B-Pod, the most

 lightly surveilled pod, after he lost his job. See ECF No. 85 at ¶¶ 113-115.

       Based on the undisputed and disputed material facts, a jury could determine

 that the Defendants did not reasonably respond to the risk Stahursky posed to

 prisoners in Micah Boland’s position, and that the Plaintiff has thus articulated

 sufficient evidence to establish the “indifference” element of the deliberate

 indifference standard.

                                  III.   CONCLUSION

       Based on the summary judgment record considered in the light most favorable

 to the Plaintiff as the non-moving party, the high bar imposed on prisoner claims

 asserting deliberate indifference by prison officials may be met in this case.

 Accordingly, the Defendants’ Motion for Summary Judgment (ECF No. 56) is

 DENIED.


       SO ORDERED.

       Dated this the 30th of July, 2018.


                                                         /s/ JON D. LEVY
                                                      U.S. DISTRICT JUDGE




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